            Case 1:18-cv-02143-RDM Document 27 Filed 12/26/18 Page 1 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 RICHARD BLUMENTHAL, et al.,

                     Plaintiffs,

            v.                                      Case No. 18-cv-2143 (RDM)

 U.S. NATIONAL ARCHIVES AND
 RECORDS ADMINISTRATION, et al.,

                     Defendants.


            MOTION FOR A STAY IN LIGHT OF LAPSE IN APPROPRIATIONS

       The United States of America hereby moves for a stay of all proceedings in the

above-captioned case.

       1.        At the end of the day on December 21, 2018, the appropriations act that had been

funding the Department of Justice expired and appropriations to the Department lapsed. The same

is true for several other Executive agencies, including Defendant National Archives and Records

Administration (“NARA”). 1 The Department does not know when funding will be restored by

Congress.

       2.        Absent an appropriation, Department of Justice attorneys and (at least) NARA

employees are prohibited from working, even on a voluntary basis, except in very limited

circumstances, including “emergencies involving the safety of human life or the protection of

property.” 31 U.S.C. § 1342.



       1
         Undersigned counsel’s understanding is that the relevant agency counsel from NARA,
from the Department of Justice’s Office of Legal Counsel, and from the Department of Justice’s
Criminal Division have all been furloughed. Counsel has thus far been unable to confirm the status
of agency counsel at the Central Intelligence Agency.
            Case 1:18-cv-02143-RDM Document 27 Filed 12/26/18 Page 2 of 3



       3.       Undersigned counsel for the Department of Justice therefore requests a stay of all

proceedings in this matter (including but not limited to the defendant agencies’ obligations to

process records in response to Plaintiffs’ FOIA requests) until Congress has restored

appropriations.

       4.       If this motion for a stay is granted, undersigned counsel will notify the Court as

soon as Congress has appropriated funds for the Department. The Government requests that, at

that point, all current deadlines for the parties be extended commensurate with the duration of the

lapse in appropriations.

       5.       Counsel for Plaintiffs reported their position on this motion as follows: “[W]e have

been unable to consult with our clients in the time available and therefore oppose the motion.”

       Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of all proceedings in this case until Department

of Justice attorneys are permitted to resume their usual civil litigation functions.




                                                  2
 Case 1:18-cv-02143-RDM Document 27 Filed 12/26/18 Page 3 of 3



Dated: December 26, 2018           Respectfully submitted,

                                   JOSEPH H. HUNT
                                   Assistant Attorney General

                                   ELIZABETH J. SHAPIRO
                                   Deputy Director, Federal Programs Branch

                                   /s/ Stephen M. Pezzi
                                   STEPHEN M. PEZZI (D.C. Bar No. 995500)
                                   Trial Attorney
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street NW
                                   Washington, DC 20005
                                   Phone: (202) 305-8576
                                   Fax: (202) 616-8470
                                   Email: stephen.pezzi@usdoj.gov

                                   Attorneys for Defendants




                               3
